Case 2:19-cv-00040-JRG-RSP Document 184 Filed 01/08/20 Page 1 of 2 PageID #: 3436



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


   IMPLICIT, LLC,                                     Civil Action No. 2:19-cv-40-JRG-RSP
               Plaintiff,                                         LEAD CASE
        v.

   IMPERVA, INC.,
              Defendant.

   IMPLICIT, LLC,                                     Civil Action No. 2:19-cv-37-JRG-RSP
               Plaintiff,
        v.

   JUNIPER NETWORKS, INC.,
              Defendant.



          DEFENDANT JUNIPER NETWORKS, INC.’S UNOPPOSED MOTION TO
              WITHDRAW JOSHUA GLUCOFT AS COUNSEL OF RECORD

          Defendant Juniper Networks, Inc. respectfully moves the Court to permit Joshua Glucoft

  to withdraw as counsel of record. Juniper remains represented by competent counsel, and Plaintiff

  has indicated that it does not oppose this motion. Juniper further requests that Joshua Glucoft be

  removed from the list of attorneys receiving CM/ECF notices for the above-entitled and numbered

  civil action.


  Dated: January 8, 2020                              Respectfully submitted,

                                                      /s/ Melissa R. Smith

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Case 2:19-cv-00040-JRG-RSP Document 184 Filed 01/08/20 Page 2 of 2 PageID #: 3437



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                                                       Attorneys for Defendant
                                                       Juniper Networks, Inc.




                                  CERTIFICATE OF SERVICE

         I hereby certify that counsel of record who are deemed to have consented to electronic

  service are being served this 8th day of January, 2020, with a copy of this document via the Court’s

  CM/ECF system per Local Rule CV-5(a)(3).

                                                        /s/ Melissa R. Smith
                                                        Melissa Smith




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